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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of Texas

Nutramax Laboratories, Inc. and Nutramax
Laboratories Veterinary Sciences, Inc.

Plaintiff(s)
v.
Erwi LLC, Murtaza Hayat, and John Does 1 through

10 (each of which is an Individual, Partnership,
Business Entity, or Unincorporated Association)

Civil Action No. 1:23-cv-897 DIT

Defendant(s)

SUMMONS IN A CIVIL ACTION

Erwi LLC

c/o Registered Agents Inc.
5900 Balcones Drive, Suite 100
Austin, TX 78731

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

hose name and add. re:
w e an ress are Brady Cox

ALSTON & BIRD LLP

2828 North Harwood Street, 18th Floor
Dallas, Texas 75201-2139

Tel: (214) 922-3400
brady.cox@alston.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

PHILIP J. DEVLIN
CLERK OF COURT

Signature of Clerk or Deputy Clerk

Date: 8/2/2023

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Civil Action No. 1:23-cv-897

PROOE OF SERVICE
(This section should nat be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual aud title, ifany) ERWI LLC C/O REGISTERED AGENTS INC.
was received by me on (date) 8/24/2023

“J I personally served the summons on the individual at ¢pface)
on (date) ,or

“1 T left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or
i Buzzbee, intake agent at Registered Agents .

XX served the summons on (nume of individual) oa 0 eS 8 8 , who is

designated by law to accept service of process on behalf of (name of organization) ERWILLC

at 5900 BALCONES DRIVE SUITE 100 AUSTIN TX 78731 AT 3:30pm on (date) 8/25/2023 Sor

‘J [returned the summons uncxecuted because ,or
D Other (specify):

My fees are $ for travel and § for services, for a total of $ 0.00

I declare under penalty of perjury that this infonnation is true.

8/25/2023
Date

Server's signature

Andrew Swatzell - PSC-18592 EXP 09/30/2024

Printed name and title

1108 Lavaca St Suite 110-549, Austin tx 78701

Server’s address

Additional information regarding attempted service, etc:

Description of Person Served:
Age: 30 to 35, Sex: F, Race/Skin Color: Caucasian, Height: 5'4" to 5'6", Weight: 110 to 115, Hair: Dark Brown, Glasses:
